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                                          767


                    IN THE UNITED STATESDISTRICT COURW UERK'   :ogelcekltsj.alsmeouW
                                                                ykyNcBk;) va ,.,.
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                    FOR THE W ESTERN DISTRICT OF V IRGINIA      ..y,stso             .



                                    LYNCHBURGDIVISION                               JUN 112212
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UNITED STATES                                       N0.6:99-<r-70054-015


                                                     OPINION & O RDER

RODNEY EUGENE LAPRADE,
                                     Defendant.      JUDGE N ORMAN K .M 00N




                                               1.

       On April10,2000,DefendantRodney Eugene Laprade pleaded guilty to conspiracy to

distributecocainebasein violationof21U.S.C.j846.Mr.Lapradewassubsequentlysentenced
toprison and fined $10,000.00.Having been released from prison severalyearsago,and having
paid severalthousand dollars tow ard his fine,M r.Laprade recently w rote a letter to this Court,

requesting thatI ttwithdraw''the balance of his fine. (docketno.538). As a resultofthe
rem aining balanceon hisfine,M r.Laprade claim sto havefaced significanthardships,including,

am ong other things,remaining in arrears on certain child supportpaym entand being denied a

FederalH ousing A ssistance loan. I construe Defendant's letter as a M otion to M odify Sentence,

butforthe reasonsexplained below,1mustdenytheM otion.


                                              lI.

       Defendant's M otion is governed by federal statute. Specifically, 18 U .S.C.j 3573

providesthat,intheinterestofjustice,theCourtmay ltremitallorpartoftheunpaid portion of
the fine,''but such action mustbe done LQlhlpon petition of the Governmentshowing that
                                              -
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reasonable effortsto collecta fine ...are notlikely to be effective ....''(emphasisadded).
W ith respectto j 3573,the Courtinitiated contactwith Defendant'sfederalprobation ofticer,
who then reached outto the United StatesAttorney'sOftice on Defendant'sbehalf. The United

States Attorney's Office,however,deemed Defendantineligible for moditication or rem ission

underthe statute,and thusdeclined to tilethenecessary petition. Itherefore haveno authority to

w ithdraw D efendant's fine,as he requests. See generally United States v. H eim bach, 808 F.

Supp.413,415-16 (E.D.Pa. 1992) (explaining that former j 3573,as it existed prior to
December11,1987,allowed adefendanttopetition thecourtforamodificationoraremission,
butfurtherexplaining thatthe CriminalFine lmprovementsActof 1987 displaced former j
3573,andvestedthepetitioningauthorityonlywiththeUnited Statesgovermnent).
       Additionally,although 18U.S.C.j3572(d)(3),allowstheCourtto,on itsown motionor
themotionofanyparty,Ctadjust''adefendant'spaymentschedule forafinethatisbeing paid in
installments,provided thatthe defendantçtnotitliesl the courtofany materialchange in the
defendant's econom ic circum stances that m ight affect the defendant's ability to pay the fine,''

Defendantseeksa withdrawalofhis fine,nota modscation of an existing paymentplan as
describedin j 3573(d)(3). Section 3573(d)(3)thereforedoesnotapply to Defendant'srequest,
asw ritten.


                                              111.

       n ile Defendant's repaymentefforts and apparent successfulreadjustment upon his
releasefrom prisonarecommendable,hisLetterM otion (docketno.538)mustbe,andherebyis,
D EN IED .

       Itisso ORD ERED .
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      The Clerk ofthe Courtis directed to send a certified copy ofthis Opinion & Orderto

D efendant.

      snteredthis 1$.
                    -xdayof-lune,2012.

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                                        NO    N K.M OO
                                        UNITED STATES DISTRICT JUDGE




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